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           Exhibit 3
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Zhao (Ruby) Liu

From:                              Frederick B. Rosner
Sent:                              Friday, March 24, 2023 12:30 PM
To:                                Zhao (Ruby) Liu; Carickhoff, Jr., David W.
Cc:                                David Wilks; Hall, Bryan J.
Subject:                           RE: Team Systems International / Adv. Proc. 23-50004 - Follow up requests


David & Bryan, I also want to follow up on two earlier and pending requests.

    1. We meet and confer on a discovery and trial schedule with respect to scheduling a hearing on a permanent
       injunction; and
    2. That the Trustee stipulate to relief from the stay (if it even applies) to permit the continued prosecution of the
       appeal pending in the Eleventh Circuit.

Best,

Fred

From: Zhao (Ruby) Liu <liu@teamrosner.com>
Sent: Friday, March 24, 2023 12:22 PM
To: Carickhoff, Jr., David W. <dcarickhoff@archerlaw.com>
Cc: David Wilks <dwilks@wilks.law>; Frederick B. Rosner <rosner@teamrosner.com>; Hall, Bryan J.
<bjhall@archerlaw.com>
Subject: RE: Team Systems International / Adv. Proc. 23‐50004 ‐ Follow up requests

David,

Attached please find supplemental declarations with supporting documents for Addy Road, Debbie Mott, John
Maciorowski and Steven Acosta. Please also see my comments in red below to each request. I believe the
supplemental declarations have addressed all of the trustee’s additional requests. Please confirm that my clients
have fully complied with the PI order.

Thank you,
Ruby

Zhao “Ruby” Liu, Esq.
刘钊律师

The Rosner Law Group LLC
824 N. Market Street, Suite 810
Wilmington, DE 19801
Office (电话): +1 (302) 777-1111
Direct (直线): +1 (302)-319-6306
Email (电邮): liu@teamrosner.com
Wechat (微信): ruby_zhaoer




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From: Carickhoff, Jr., David W. <dcarickhoff@archerlaw.com>
Sent: Monday, March 13, 2023 4:29 PM
To: Zhao (Ruby) Liu <liu@teamrosner.com>
Cc: David Wilks <dwilks@wilks.law>; Frederick B. Rosner <rosner@teamrosner.com>; Hall, Bryan J.
<bjhall@archerlaw.com>
Subject: RE: Team Systems International / Adv. Proc. 23‐50004 ‐ Follow up requests

Ruby,
Following up on our call this afternoon, we are requesting the following information:
1) Debbie Mott: bank statements (not screen shots) for the non‐Truist bank accounts listed on Ms. Mott’s individual
declaration (i.e., 3 at TD and 2 at Chase);
The bank statements are attached as Exhibit A to Ms. Mott’s supplemental declaration.
2) Debbie Mott and John Maciorowski: each list certain vehicles as jointly owned, but such vehicles do not appear on the
other’s declaration. Do they own the vehicles jointly with another party – if so, who? Or was that an oversight and they
have 3 vehicles they own jointly with each other?
All 6 vehicles are jointly owned by Debbie Mott and John Maciorowski. See supplemental declarations for Ms. Mott
and Mr. Maciorowski. In addition, Ms. Mott is a co-owner of her son’s vehicle, which was listed under Christopher
Mott’s initial declaration as jointly owned. We added this to Ms. Mott’s supplemental declaration for clarification.
3) Steve Acosta: financial statements related to Galleon Logistics see we can understand its value; financial statements
for TSI Gulf Coast so we can understand what, if any, assets remain for the company
TSI Gulf Cost is a defunct entity and has no assets. If had no operation since 1/1/21 and therefore, no financial
documents since 2021. Galleon Logistics never had operations/assets. See Mr. Acosta’s supplemental declaration.
4) Addy Road: please provide an example of how the fuel contracts work. For example, an email agreeing to the
purchase of fuel; A bank statement showing a wire or check purchasing the fuel for the requesting party; and a bank
statement showing the receipt of payment for fulfilling the fuel order – documents so we can visualize how the
transactions work. The declaration also lists the fuel contract as a liability, but we assume there is a corresponding asset
for the fulfillment payment, as Addy Road is presumably only filling orders it can profit from. What is the corresponding
asset? Is there a balance sheet or other financial statement that reflects this?
See Addy Road’s supplemental declaration for explanation.
5) Addy Road: bank statements (not screen shots) for the Chase and PNC accounts listed
See Ex. A to Addy Road’s supplemental declaration. In addition, please note that Addy Road’s Chase Bank Account
ending in xx5779 (on page 3 of the statement) references a Chase Platinum Business Checking Account ending in
xx0809. Neither Addy Road nor Ms. Mott is an owner of that account. The account was set up for a family relative
and is managed by Ms. Mott. Chase Bank linked that account to Addy Road’s account to confer business benefits for
the account holders. Please do not contact the owner of that account.
6) Please confirm that you have wet signature pages for the declarations provided.
Confirmed. Wet signatures are attached to this email for your reference.

Thanks,
Dave




David W. Carickhoff, Jr., Esq.
Archer & Greiner P.C.
300 Delaware Avenue
Suite 1100
Wilmington, DE 19801
302-356-6621
dcarickhoff@archerlaw.com
www.archerlaw.com



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From: Frederick B. Rosner <rosner@teamrosner.com>
Sent: Friday, March 10, 2023 12:49 PM
To: Carickhoff, Jr., David W. <dcarickhoff@archerlaw.com>; Hall, Bryan J. <bjhall@archerlaw.com>
Cc: David Wilks <dwilks@wilks.law>; Zhao (Ruby) Liu <liu@teamrosner.com>
Subject: [EXT MAIL] RE: Team Systems International / Adv. Proc. 23‐50004

David, here are the responses to your prior follow up requests:

    •   Addy Road LLC: Addy Road has 3 members: Deborah Mott, Christopher Mott and John S.
        Maciorowski. There is no written agreement on ownership percentage amongst the members.

    •   Fuel Contracts – To clarify, there are no actual written fuel contracts. To the extent the
        Declaration so states, it is hereby clarified. Instead, fuel is sold on a “spot” basis. The $240,000 is
        listed as “Liabilities” because it is a “take” or “pay” handshake agreement to purchase fuel. Addy
        Road makes the purchase when the spread between the spot price and Addy Road’s price is best.

    •   TSI Gulf Coast LLC – To be clear, our firm is not counsel to TSI Gulf Coast. As reflected in Mr.
        Acosta’s declaration, TSI GC has not operated since Jan 1, 2021.

    •   Sale of Blue Springs Property – Ms. Mott acknowledges that the Blue Springs Property is subject to
        the PI Order. Ms. Mott is considering the trustee’s proposal and will revert back on this.

My client contact is presently traveling and I will discuss further production early next week. Although we
intend to fully comply with the terms of the PI Order, my client expresses legitimate concern how the
produced documents and other information may be used by the Trustee. Production is being made with
respect to entities that may have an ongoing business. There is concern that the Trustee may contact these
businesses, or entities or persons who conduct business with these businesses, and thereby cause damage
to or confusion these businesses, or negatively affect business relationships. We believe a NDA is
appropriate, or some other form of protection from such problems.

I am happy to discuss solutions to these concerns Monday at 2 p.m. Ruby will send a dial in.

Best,

Fred


From: Carickhoff, Jr., David W. <dcarickhoff@archerlaw.com>
Sent: Friday, March 10, 2023 11:34 AM
To: Frederick B. Rosner <rosner@teamrosner.com>; Hall, Bryan J. <bjhall@archerlaw.com>
Cc: David Wilks <dwilks@wilks.law>
Subject: RE: Team Systems International / Adv. Proc. 23‐50004

Fred,
We don’t believe that your clients have provided a full accounting. Do you intend to provide the additional
information requested? We note that the bank statements provided are screen shots and not actual bank
statements. Please provide actual bank statements.
In terms of a call, we are available on Monday after 2pm.

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Thanks




David W. Carickhoff, Jr., Esq.
Archer & Greiner P.C.
300 Delaware Avenue
Suite 1100
Wilmington, DE 19801
302-356-6621
dcarickhoff@archerlaw.com
www.archerlaw.com




         From: Frederick B. Rosner <rosner@teamrosner.com>
         Sent: Thursday, March 9, 2023 3:33 PM
         To: Carickhoff, Jr., David W. <dcarickhoff@archerlaw.com>; Hall, Bryan J. <bjhall@archerlaw.com>
         Cc: David Wilks <dwilks@wilks.law>
         Subject: [EXT MAIL] Team Systems International / Adv. Proc. 23‐50004

         David / Bryan:

         I hope this finds you well.

         I am writing with respect to the PI Order entered in the case.

         Debbie Mott and certain of the other defendants are not amenable to extending the PI
         Order to include any cash. They have retained litigation counsel (copied).

         We would like to schedule a call with you for tomorrow to discuss next steps, including
         scheduling a hearing on a Permanent Injunction and a related discovery schedule. We
         also think it is appropriate to alert the Court and make it aware of the status of the
         matter. I am happy to jump on a call with the Court or appear at a status conference.

         Separately, I will conference with the client tomorrow and respond to your follow up
         email on the accounting.

         Best,

         Fred

         Frederick B. Rosner
         The Rosner Law Group LLC
         824 N. Market Street
         Suite 810
         Wilmington, DE 19801
         302‐777‐1111

         Conveniently located in the bankruptcy court building

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               Working remotely. Best way to reach me is by email or cell: 302‐220‐1007.




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